                                                                 IUSDC SDNY
                                                                  DOCUMENT
                   I                                              ELECTRO NI CALLY FILED
                   I
UNITED STAT~S DISTRICT COURT                                      DOC#:- ------,----
SOUTHERN DISTRICT OF NEW YORK
_______________ "____ I_____________________________________ X    DATE FILED: ~ /~1} 1'J
UNITED STATES OF AMERICA,

                                    Government.                             ORDER .
                 -against-
                    \
                                                                          19 Cr 490

JEFFREY EPST~IN,
                                    Defendant.
•·--•·"----------•-·"l_______________________________ "_____ X

                        I
        The Court will conduct a brief hearing on Tuesday, August 27, 2019 at 10:30 a.m. in
                        1


connection with the nolle prosequi order proposed to the Court on August 19, 2019 by the United
                 I
                 I
States Attorney. I

         The Court \believes that where, as here, a defendant has died before any judgment has

been entered against him, the public may still have an informational interest in the process by

which the prosecur r seeks dismissal of an indictment.

         At the he31ng, Counsel for the Government and for the deceased Defendant, Jeffrey

Epstein, will be heard. Counsel for the victims and the victims will also be heard, if they wish to
                            I
be.

         The hearing will be held in Courtroom 17B.

                            I
Dated; NewYork,NewYork
       August 21 , !2019
                            I
                                I




                                                      RICHARD M. BERMAN, U.S.D.J.
